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                               EXHIBIT 10
                                       Case 2:20-cv-17785-EP-LDW Document 78-12 Filed 05/11/23 Page 2 of 3 PageID: 2018
                                                                                                                               EMPLOYEE EARNINGS RECORD
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                    HOURS, EARNINGS, AND REIMBURSEMENTS & OTHER PAYMENTS                                                   WITHHOLDINGS                                                         NET
                                                                                  REIMB &
CHECK     DESCR    REGULAR OVERTIME      REGULAR         OVERTIME    TOTAL         OTHER       SOC SEC           FEDERAL        STATE       LOCAL        OTHER                                  PAY
DATE                HOURS   HOURS        AMOUNT           AMOUNT    EARNINGS     PAYMENTS       + MED              TAX           TAX         TAX

11/16   Hourly         30.00                  300.00                    300.00                         22.95          7.79          4.50                       0.84                              262.64
                                                                                                                                                               1.15
                                                                                                                                                               0.13
11/23   Hourly         30.00                  300.00                    300.00                         22.95          7.79          4.50                       0.84                              262.64
                                                                                                                                                               1.15
                                                                                                                                                               0.13
11/30   Hourly         30.00                  300.00                    300.00                         22.95          7.79          4.50                       0.84                              262.64
                                                                                                                                                               1.15
                                                                                                                                                               0.13
12/07   Hourly         30.00                  300.00                    300.00                         22.95          7.79          4.50                       0.84                              262.64
                                                                                                                                                               1.15
                                                                                                                                                               0.13
12/14   Hourly         30.00                  300.00                    300.00                         22.95          7.79          4.50                       0.84                              262.64
                                                                                                                                                               1.15
                                                                                                                                                               0.13
12/21   Hourly         30.00                  300.00                    300.00                         22.95          7.79          4.50                       0.84                              262.64
                                                                                                                                                               1.15
                                                                                                                                                               0.13
12/28   Hourly         30.00                  300.00                    300.00                         22.95          7.79          4.50                       0.84                              262.64
                                                                                                                                                               1.15
                                                                                                                                                               0.13
QTR 4                 210.00                 2100.00                   2100.00                        S 130 20       54.53 NJ                          NJSUR                                    1838.48
                                                                                                      M 30.45                      31.50                            0.91

                                                                                                                                                       Disability
                                                                                                                                                                    5 88

                                                                                                                                                       NJUI
                                                                                                                                                                    8.05
YTD                   210.00                 2100.00                   2100.00                        S 130 20       54.53 NJ                          Disability                               1838.48
2018                                                                                                  M 30.45                      31.50                            5 88

                                                                                                                                                       NJUI
                                                                                                                                                                    8.05

                                                                                                                                                       NJSUR
                                                                                                                                                                    0.91
01/04   Hourly         30.00                  300.00                    300.00                         22.95          7.31          4.50                       0.75                              263.21
                                                                                                                                                               1.15
                                                                                                                                                               0.13
01/11   Hourly         30.00                  300.00                    300.00                         22.95          7.31          4.50                       0.75                              263.21
                                                                                                                                                               1.15
                                                                                                                                                               0.13
01/18   Hourly         30.00                  300.00                    300.00                         22.95          7.31          4.50                       0.75                              263.21
                                                                                                                                                               1.15
                                                                                                                                                               0.13
01/25   Hourly         30.00                  300.00                    300.00                         22.95          7.31          4.50                       0.75                              263.21
                                                                                                                                                               1.15
                                                                                                                                                               0.13




Alcantara Medina, Miguel         ID                137                             Term Date:                                              Withholding                       Deductions:
PII                                                                                Pay Frequency: Weekly                                   Method:
                                 Sex:              Male                            Standard Hrs:    30
                                 Birthdate:                                        Rate 1 / Salary: 10.00/Hour
                                 Hire Date:        11/10/2018                                                                              Earnings:

                                                                                                                                                                                    DOL003301
                                 Inactive Date:
                                 Rehire Date:                                      Last Raise Date:
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                                                                                                                       EMPLOYEE EARNINGS RECORD
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                    HOURS, EARNINGS, AND REIMBURSEMENTS & OTHER PAYMENTS                                           WITHHOLDINGS                                                  NET
                                                                                 REIMB &
CHECK     DESCR    REGULAR OVERTIME     REGULAR       OVERTIME    TOTAL           OTHER    SOC SEC       FEDERAL        STATE      LOCAL     OTHER                               PAY
DATE                HOURS   HOURS       AMOUNT         AMOUNT    EARNINGS       PAYMENTS    + MED          TAX           TAX        TAX

02/01   Hourly         30.00                 300.00                    300.00                  22.95          7.31          4.50                   0.75                           263.21
                                                                                                                                                   1.15
                                                                                                                                                   0.13
02/08   Hourly         30.00                 300.00                    300.00                  22.95          7.31          4.50                   0.75                           263.21
                                                                                                                                                   1.15
                                                                                                                                                   0.13
QTR 1                 180.00               1800.00                    1800.00                 S 111.60       43.86 NJ                      NJSUR                                 1579.26
                                                                                              M 26.10                      27.00                        0.78

                                                                                                                                           Disability
                                                                                                                                                        4.50

                                                                                                                                           NJUI
                                                                                                                                                        6.90
YTD                   180.00               1800.00                    1800.00                 S 111.60       43.86 NJ                      Disability                            1579.26
2019                                                                                          M 26.10                      27.00                        4.50

                                                                                                                                           NJUI
                                                                                                                                                        6.90

                                                                                                                                           NJSUR
                                                                                                                                                        0.78




Alcantara Medina, Miguel
PII



                                                                                                                                                                     DOL003302
